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                EXHIBIT 1
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 1

 2      UNITED STATES BANKRUPTCY COURT

 3      DISTRICT OF DELAWARE

 4      Case No. 10-12351-MFW

 5

 6      In the Matter of:

 7

 8      OLD RAZOR COMPANY LLC

 9      (F/K/A AMERICAN SAFETY RAZOR CO., LLC), ET AL,

10

11                  Debtors.

12

13

14                       U.S. Bankruptcy Court

15                        824 North Market Street

16                       Wilmington, Delaware

17

18                        June 23, 2011

19                        1:01 PM

20

21      BEFOR E:

22      HON. MARY F. WALRATH

23      U.S. BANKRUPTCY JUDGE

24

25      ECR OPERATOR: BRANDON MCCARTHY

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 1

 2      FINAL FEE HEARING (1-6)

 3

 4      HEARING re Debtors' Motion for an Order Pursuant to Sections

 5      305, 349 and 1112(b) [Docket No. 701; 4/20/2011]

 6

 7      HEARING re Application of Certain Second Lien Lenders Pursuant

 8      to 11 U.S.C. Sections 503 (b)(3)(d) and (b)(4) for Allowance of

 9      an Administrative Claim for Making a Substantial Contribution

10      in These Cases [Docket No. 704; 04/21/2011]

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25      Transcribed by: Gershom Benayahu

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                            OLD RAZOR COMPANY LLC, ET AL

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 1      and accountants, I accept the reading of 503(b)(3) argued by

 2      the second lien holders that that encompasses professionals or

 3      other expenses other than attorneys and accountants, who are

 4      subjected to a higher standard under 503(b)(4). So I think

 5      that the witness fees and the investment banker fees could be

 6      recoverable under 503(b)(3), and I respectfully disagree with

 7      the Summa and the Mirant cases that suggest otherwise. I think

 8      Mirant suggests that Colliers does contemplate or argue that

 9      the statute would allow fees other than attorneys and

10      accountants, and I do adopt that reading.

11                  With respect to whether or not the creditors have met

12      their burden under Lebron and 503(b)(3) and (4), I think they

13      have in this respect. I think they have shown a demonstrable

14      and substantial benefit to the estate. I think that's clear

15      from the fifty-seven million dollars more that was paid by

16      Energizer for the assets. And I think that that is directly

17      attributable to the actions of the second lien creditors,

18      BlackRock and Blackstone, because they really did early in the

19      case carry the burden and bring to the Court's attention a

20      number of things, including specifically the idea that these

21      assets had more value than the debtor was attributing to them.

22                  The Court did find the testimony of Mr. Russell on

23      the, quote, first day or early in the case to be very

24      significant, did convince the Court that there was more value

25      to this debtor than was suggested by the stalking horse bid,

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